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5    SARAH MATTSON
6
                              IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
                                         SACRAMENTO DIVISION
9

10
     UNITED STATES OF AMERICA,                          )   Case No. CR S 08-CR-0093 KJM
11                                                      )
                                 Plaintiff,             )
12                                                      )   DEFENDANT SARAH MATTSON’S
             vs.                                        )   EX PARTE APPLICATION FOR
13                                                      )   TRAVEL EXPENSES AND
                                                        )   PROPOSED ORDER
14                                                      )
     SARAH MATTSON, et. al.                             )   Time: 9:00 a.m.
15                                                      )   Date: December 19, 2014
                                 Defendants.            )   Judge: Kimberly J. Mueller
16                                                      )
17                                            INTRODUCTION
18          Defendant SARAH MATTSON, by and through undersigned counsel, and
19   pursuant to 18 U.S.C. § 4285, hereby requests the Court to authorize travel expenses to
20   and from Sacramento in order to permit her to attend the Judgment and Sentencing
21   hearing scheduled for December 19, 2014. Ms. Mattson is unable to afford her own
22   transportation costs from her residence in Arizona to Sacramento.
23          Pursuant to § 4285, the Court may, after determining that “the defendant is
24   financially unable to provide the necessary transportation to appear before the required
25   court on her own, direct the United States Marshal to arrange for that person’s means of
26   non-custodial transportation or furnish the fare for such transportation to the place
27   where her appearance is required, and in addition may direct the United States Marshal
28   to furnish that person with an amount of money for subsistence expenses to her

     ____________________________________________________________________________________________________
     Defendant’s Ex parte Application for                  1                                CR S 08-0093 KJM
     Travel Expense and Propose Order
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1    destination, not to exceed the amount authorized as a per diem allowance for travel
2    under § 5702(a) of title 5, United States Code.” 18 U.S.C. § 4285.
3            Mrs. Mattson works as a special education teacher, but her income qualifies for
4    appointed counsel under the Criminal Justice Act. For these reasons, Mrs. Mattson
5    respectfully requests that the Court order the United States Marshal’s Service to provide
6    transportation to and from Sacramento, California, for Mrs. Mattson’s sentencing
7    hearing on December 19, 2014, as well as provide subsistence expenses for travel.
8    Dated: December 9, 2014                        Respectfully submitted,
9
                                                    By: /s/ Joseph J. Wiseman
10                                                      JOSEPH J. WISEMAN
                                                        Attorney for Defendant
11                                                      SARAH MATTSON
12

13                                         PROPOSED ORDER

14           TO: UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:
15
             GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT the United States
16
     Marshal Service is authorized and directed to furnish the above named defendant,
17
     SARAH MATTSON, with transportation to Sacramento, California from Phoenix,
18
     Arizona, on Thursday, December 18, 2014, and returning to Phoenix, Arizona, on
19
     December 19, 2014. Mrs. Mattson is ordered to appear before this court on December
20
     19, 2014, at 9:00 a.m., and is unable to afford her own transportation.
21
             Further, the United States Marshal Service is directed to furnish defendant
22
     SARAH MATTSON with an amount of money for subsistence expenses to and from her
23
     destination, not to exceed the amount authorized as a per diem allowance for travel
24
     under § 5702(a) of Title 5, United States Code.
25
     IT IS SO ORDERED.
26

27
                                                            Dated: December 10, 2014
     Dated : December 10, 2014                          _____________________________________
28                                                      CAROLYN K. DELANEY
                                                        UNITED STATES MAGISTRATE JUDGE
     ____________________________________________________________________________________________________
     Defendant’s Ex parte Application for                  2                                CR S 08-0093 KJM
     Travel Expense and Propose Order
